     Case 2:20-cr-00010-RJJ ECF No. 43, PageID.95 Filed 12/30/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE NO. 2:20-CR-10
v.
                                                              HON. ROBERT J. JONKER
DUANE RICHARD FORREST,

            Defendant.
_______________________________/

                 ORDER ADOPTING REPORT AND RECOMMENDATION


The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law. Based on this, and on the

Court’s review of all matters of record, including the audio transcript of the plea proceedings, IT

IS ORDERED that:

1.       The Report and Recommendation of the Magistrate Judge (ECF No. 38) is approved

         and adopted as the opinion of the Court.

2.       Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

         set forth in Counts 1 and 2 of the Indictment.

3.       The written plea agreement is hereby continued under advisement pending sentencing.

4.       Defendant shall remain detained pending sentencing.


Dated:      December 30, 2020                  /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
